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                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA

                                        Case No. 9:19-cv-81160
    APPLE INC.,
                        Plaintiff,
            v.

    CORELLIUM, LLC,

                        Defendant.




            DEFENDANT’S NOTICE OF SERVING FIFTH AMENDED ANSWERS
                 TO PLAINTIFF’S FIRST SET OF INTERROGATORIES

          Defendant Corellium, LLC (“Corellium”), by and through undersigned counsel, pursuant

   to the Federal Rules of Civil Procedure, hereby files this Notice of Serving Fifth Amended

   Answers to Plaintiff, Apple Inc.’s (“Apple”), First Set of Interrogatories.

    Dated: April 18, 2020                            Respectfully submitted,

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                                                     and


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                                                  Attorneys for Corellium, LLC

                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 18 day of April, 2020, a true and correct copy of the

   foregoing document has been furnished via email to counsel of record identified below.

                                         /s/ Justin B. Levine
                                          Justin B. Levine


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          Corellium-008346.000001
          Corellium-008375.000001
          Corellium-008379.000001
          Corellium-008489.000001
          Corellium-008539.000001
          Corellium-008585.000001
          Corellium-008636.000001
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          Corellium-008667.000001
          Corellium-008709.000001
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          Corellium-008996.000001
          Corellium-009028.000001
          Corellium-009103.000001
          Corellium-011343.000001
          Corellium-011246.000001
          Corellium-012315.000001
          Corellium-014360
          Corellium-014367
          Corellium-014372
          Corellium-014375
          Corellium-017021
          Corellium-014521

   INTERROGATORY NO. 9: Separately for each version or installation of the Corellium Apple
   Product Identified in Interrogatory No. 1, state the following information for the Corellium Apple
   Product and any license of the Corellium Apple Product for each fiscal quarter from the formation
   of Corellium to present: (1) the Dates of each sale or license, (2) the type of sale or license (e.g.,
   private installation or access to Corellium Apple Product), (3) the customer for each sale or license,
   (4) the Person(s) billed for each sale or license (whether the same as the customer or different), (5)
   the address where any private installations occurred, (6) the terms of each sale or license, and (7)
   the price paid for each sale or license, including whether no monetary amount was paid.

          ANSWER:           Corellium objects to this Interrogatory as it seeks disclosure of
          proprietary, confidential and/or trade secret information regarding Corellium’s business
          and product. Specifically, Apple is seeking confidential information about clients relative
          to the terms of their individual purchase from Corellium. However, individual purchase
          terms are neither necessary to show damages nor whether infringement or a violation of
          the DMCA has occurred. In that regard, notwithstanding the fact that each client’s sale
          terms are highly sensitive, they are not relevant to any issue in this case.




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                           DECLARATION UNDER PENALTY OF PERJURY
           I, Amanda Gorton as the authorized representative and on behalf of Corellium, LLC,

    declare under penalty of perjury under the laws of the United States of America that the foregoing

    Fifth Amended Answers to Apple, Inc.’s First Set of Interrogatories are true and correct. Executed

    on April 18, 2020.



                                                 _________________________________
                                                 AMANDA GORTON

                                                 AS THE AUTHORIZED REPRESENTATIVE
                                                 AND ON BEHALF OF CORELLIUM, LLC.
